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                     IN THE UNITED STATES DISTRICT COURT

                      FOR THE SOUTHERN DISTRICT OF TEXAS

                               GALVESTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
VS.                                         §   CRIMINAL NO. G-15-MJ-18 (3)
                                            §
DOMINIQUE WARNER                            §

                               ORDER OF DETENTION

       On April 30, 2015, this Court conducted a combined Preliminary and Detention

Hearing in the above-styled and numbered cause; the Government moved for the detention

of the Defendant, Dominique Warner. The Government offered the testimony of F.B.I

Agent Richard Rennison; Warner offered the testimony of his mother, Rhonda Goodlow.

The Court also made the Pretrial Services report, which recommended detention, a part

of the record. Having now considered all of the evidence the Court issues the following

findings of facts and conclusions of law.

       The Court FINDS that there is probable cause to believe that Warner was

substantially involved in a conspiracy to commit sex trafficking of juvenile girls through

prostitution in violation of 18 U.S.C. §§1591 and 1594(c).

       The Court further FINDS, in accordance with the Bail Reform Act, 18 U.S.C.

§3142(f), that the following facts are established by clear and convincing evidence and

require the detention of the Dominique Warner pending trial in this case:

1.     That by virtue of the probable cause finding a rebuttable presumption was created

       in favor of Warner’s detention, 18 U.S.C. § 3142(e)(3)(E);
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2.    that the strength of the Government’s case against Warner is substantial given the

      minor victims’ statements that Warner rented rooms at hotels and drove them to and

      from those hotels for their sexual encounters; that Warner was an “associate” of co-

      Defendant Fulton, the leader of the conspiracy who is also a well-known drug

      dealer in Galveston; that after learning of the warrant for his arrest Warner was

      stopped by a constable in Houston and arrested for, inter alia, lying about his

      identity; and that Warner stated to an FBI agent that he sold “crack” for a living

      during the drive to Galveston County following his arrest at the Harris County Jail;

3.    that prior to his arrest on this charge Warner, only a 23 year old man, had amassed

      an extensive criminal past including robbery and burglary charges as a juvenile; a

      felony conviction for possession of a controlled substance which resulted in a six

      month prison sentence following the revocation of his original sentence of deferred

      adjudication; six misdemeanor convictions including three offenses involving

      contact with law enforcement officials and two involving drug possession; and

      separate pending cases for drug possession and DWI for which he was on bond

      during his participation in the instant conspiracy;

4.    that the testimony of Warner’s mother offering him a place to live and her support

      if he were to be released did not rebut the presumption created by 18 U.S.C.

      §3142(e)(3)(E);

5.    that by virtue of the foregoing findings Warner would constitute a danger to the

      community if released; and

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6.     that the credible evidence and information submitted establishes by clear and

       convincing evidence that there is no condition or combination of conditions which

       could be imposed upon Warner by this Court to reasonably assure his appearance

       as required and the safety of any other person and the community if he were

       released.

       It is, therefore, ORDERED that Dominique Warner be, and he is hereby,

COMMITTED to the custody of the Attorney General or his designated representative for

confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal.

      It is further ORDERED that Dominique Warner SHALL be afforded a reasonable

opportunity for private consultation with defense counsel.

       It is further ORDERED that upon Order of a Court of the United States or upon

request of an attorney for the Government, the person in charge of the corrections facility

SHALL deliver Dominique Warner to the United States Marshal for the purpose of an

appearance in connection with a Court proceeding.

       DONE at Galveston, Texas this         1st     day of May, 2015.




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